     Case
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 1                                   UNITED STATES DISTRICT COURT

 2                                         DISTRICT OF NEVADA

 3    UNITED STATES OF AMERICA,                         )
                                                        ) ORDER CONTINUE SENTENCING
 4
                        Plaintiff,                      )
 5                                                      )
              v.                                        ) 2:12-CR-083-APG-(GWF)
 6                                                      )
      DEREK CARDER,                                     )
 7                                                      )
                        Defendant.                      )
 8

 9
              This matter comes before the Court on the parties Stipulation to Continue Sentencing.
10
      Based on the stipulation of the parties, and good cause appearing therefore, the Court hereby finds
11

12    that:

13             The Court has sua sponte questioned the sufficiency of the evidence relating to the

14    restitution and forfeiture amounts and the Court has indicated on the record, during a hearing with
15    co-conspirator Morrell, 2:12-CR-0083-APG-GWF, that the Court is inclined to explore further the
16
      issues of restitution and forfeiture as they relate to the associate members of Carder.su, despite the
17
      fact that such arguments are in violation of the parties’ express agreement memorialized in the
18
      parties’ plea agreement. The Court has set a briefing schedule for defendant Morrell’s case,
19

20    concluding with defendant Morrell’s sentencing hearing on September 10, 2014. Because

21    defendant CARDER’s case presents similar issues of restitution and forfeiture, the parties request a

22    similar briefing schedule and sentencing date.
23
               Defendant CARDER is at liberty pending sentencing, having been released on bond. He
24
      does not oppose the requested continuance and waives any right he may have to a speedy sentencing
25
      in this matter.
26

                                                        3
     Case
      Case2:12-cr-00083-APG-GWF
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 1             The Court hereby concludes that the ends of justice are best served by granting this
 2
      continuance of defendant CARDER’s sentencing.
 3
               This is the first request to continue the sentencing in this matter.
 4

 5

 6            IT IS THEREFORE ORDERED that the sentencing hearing, currently scheduled for August

 7                                       September 18, 2014 at 9:00 a.m.,
      7, 2014, is vacated and reset for ______________________      at theCourtroom 6C.
                                                                           hour of ______. The Government

 8    shall have to and including August 26, 2014 to file its brief. The Defendant shall have to and including

 9    September 9, 2014 to file any response.
      IT IS SO ORDERED        this ______ day of ____________, 2014.
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11
      ________________________________
12    HON. ANDREW P. GORDON
      UNITED STATES DISTRICT JUDGE
13

14              July 30, 2014
      DATED: ___________________________

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